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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 In re Circuit Court Order to Appear to Non-        Case No. 1:22-mc-00068
 Party Lindsey O. Graham in his official
 capacity as United States Senator,

 in the matter of:

 Special Purpose Grand Jury, Fulton County
 Superior Court Case No. 2022-EX-000024.


                                           Stipulation

       Fulton County District Attorney District Attorney Fani T. Willis, acting in her capacity as

the legal advisor to the Fulton County Special Purpose Grand Jury, and Senator Lindsey Graham

have reached an agreement to withdraw all process and proceedings pending in the United States

District Court for the District of South Carolina (8:22-mc-00433-DCN) and the United States

District Court for the District of Columbia (1:22-mc-00068), stipulating to the dismissal of any

proceedings pending within the geographic scope of those jurisdictions, whether in state or federal

court. Senator Graham has agreed to accept service of a subpoena for testimony from the Fulton

County Special Purpose Grand Jury in Atlanta, Georgia, without waiving any challenges or any

applicable privilege and/or immunity. The parties agree that any such challenges to the subpoena

will be pursued in Fulton County Superior Court and/or the United States District Court for the

Northern District of Georgia.



                                [Signatures on following page.]




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WE SO STIPULATE:
                             NELSON MULLINS RILEY & SCARBOROUGH LLP

                             By: /s/ Thomas William McGee, III
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                                Application for Admission Pro Hac Vice Forthcoming
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                                Application for Admission Pro Hac Vice Forthcoming
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                             Attorneys for Senator Lindsey O. Graham
Charleston, South Carolina
July 22, 2022

ACKNOWLEDGED
AND AGREED TO:
                             DISTRICT ATTORNEY
                             ATLANTA JUDICIAL CIRCUIT

                             By: /s/ Fani T. Willis
                                Fani T. Willis
                                District Attorney, Atlanta Judicial Circuit
                                136 Pryor Street Southwest
                                Third Floor
                                Atlanta, Georgia 30303

                             Fulton County District Attorney District Attorney Fani T.
                             Willis, acting in her capacity as the legal advisor to the Fulton
                             County Special Purpose Grand Jury
Charleston, South Carolina
July 22, 2022




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